






Opinion issued July 18, 2002













In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-02-00589-CR

____________


MACARIO DOMINGO VELAZQUEZ, Appellant


V.


THE STATE OF TEXAS, Appellee







On Appeal from the 184th District Court

Harris County, Texas

Trial Court Cause No. 622963






MEMORANDUM  OPINION

	We are without jurisdiction to entertain this appeal.  Appellant was
sentenced in this case on March 21, 2002.  No motion for new trial was filed.  The
deadline for filing notice of appeal was therefore Monday, April 22, 2002, because
the thirtieth day after sentencing fell on a weekend.  Tex. R. App. P. 4.1(a), 26.2(a)(1). 
Notice of appeal was deposited in the mail on April 30, 2002, according to the
postmark on the copy of the envelope included in the clerk's record.  Because the
notice of appeal was mailed eight days after the filing deadline, it did not comply with
Rule 9.2 of the Texas Rules of Appellate Procedure, the "mailbox rule."  See Tex. R.
App. P. 9.2(b).  Although the notice of appeal was filed within the 15-day time period
for filing a motion for extension of time to file notice of appeal, no such motion for
extension of time was filed.  See Tex. R. App. P. 26.3.

	We therefore dismiss the appeal for lack of jurisdiction.  Slaton v. State, 981
S.W.2d 208, 209-10 (Tex. Crim. App. 1998); Olivo v. State, 918 S.W.2d 519, 522
(Tex. Crim. App. 1996).

	It is so ORDERED.

PER CURIAM

Panel consists of Chief Justice Schneider, and Justices Nuchia and Radack.

Do not publish.  Tex. R. App. P. 47.


